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Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 17 of 25 PageID #: 140

                                                                 U.S. Department of Justice

                                                                 Executive Office for United States Attorneys


 Freedom ofInformation and Privacy Staff                         Suite 7300, Bicentennial Building      (202)252-6020
                                                                 600 E Street. NW                    FAX(202)252-6047
                                                                 Washington, DC 20530




                                                                 May 28,2021

 Andre Shawn Wilbum
#73608-298
 MDC Brooklyn
P.O. Box 329002
 Brooklyn, NY 11232


 Re: Request Number:                       BOUSA-2021-001391
 Date of Receipt:                          February 24,2021
 Subject of Request:                       Oaths of Office / Confirmation of Jurisdictions/ Citizen complaints
                                           for Virginia Nguyen and Richard P. Donoghue


Dear Andre Wilbum:


        In response to your Freedom ofInformation Act and/or Privacy Act request,the
 paragraph(s) checked below apply:

[X]A search for records located in the Office ofPersonnel at EOUSA has revealed no
resp(^nsive records regarding the above subject. We have been informed that Richard P.
Donoghue is no longer with the Department of Justice. Virginia Nguyen is employed by the
Social Security Administration(SSA)and her employment files are in their possession. We
have provided the address below if you choose to submit a request to SSA:

          Freedom of Information Officer
          6401 Security Boulevard
           G401 WHR
          Baltimore, Maryland 21235
          FOIA.Public.Liaison@ssa.gov


[X]Please note that your Original letter was split into separate files ("requests"), for processing
purposes, based on the nature of what you sought. Each file was given a separate Request
Number (listed below), for which you will receive a separate response:
               • EOUSA-2021-001379
               • EOUSA-2021-001381'
Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 18 of 25 PageID #: 141

    •This is.the final action on this above-numbered request. If you are not satisfied with
EOUSA's response to this request, you may administratively appeal by writing to the Director,
Office of Information Policy (GIF), United States Department of Justice, Sixth Floor, 441 G
Street, NW,Washington, DC 20530, or you may submit an appeal through GIF's FOIA STAR
portal by creating an account following the instructions on GIF's website:
https://www.iustice.gov/oip/submit-and-track-request-or-appeal.. Your appeal must be
postmarked oi* electronically transmitted within ninety (90) days of the date of my response to
your request. If you submit your appeal by mail, both the letter and the envelope should be
clearly marked "Freedom of Information Act Appeal."

        You may contact our FGIA Public Liaison at the telephone number listed above for any
further assistance and to discuss any aspect of your request. Additionally, you may contact the
Gffice of Government Information Services(GGIS)at the National Archives and Records
Administration to inquire about the FGIA mediation services they offer. The contact information
for GGIS is as follows: Gffice of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-GGIS, College Park, Maryland 20740-6001; e-mail
at ogis@nara.gov: telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-
 741-5769.



                                                           Sincerely,


                                                           Kevin Krebs
                                                           Assistant Director




                                                                         Form No. 005-12/15
Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 19 of 25 PageID #: 142




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Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 20 of 25 PageID #: 143




                                                                       BRO-1330.18c
                                                                       ATTACHMENT 1


                            ATTEMPT AT INFORMAL RESOLUTION
                          (REQUEST FOR ADMINISTRATIVB REMEDY)
   The Federal Bureau of Prisons' Program Statement 1330.18,
   The Federal Bureau ot fticuiis                         —. ^ Mministra^i^
   Reraedv Proqratn, dated January 6. 2014, requires inmates attempt to informally
   present their complaint to a staff member and allow the staff member to
   attempt to informally resolve any issue prior to the inmate filing a
   for Administrative Remedy, BP-229 (13). If informal resolution is unable to
   be accomplished, the inmate will be given a BP-229 (13) form.

   ris-Tss^m^f,                                ......
   1. Complaint (be specific, if related to DDC appeal, specify relevant section

    I)y-                              —

   2. What resolution is requested/expected:        , ,           ri ,     -r          Ii L
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   TO BE COMPLETED BY STAFF: .
   3. Date/Time Complaint Received from Inmate:                    :
   4. Date/Time Informally discussed with inmate:^                 —__—
   S staff Response- Spoke to Education Dept and they will make sure you are picked up



   6. Date Administrative Remedy Provided:
                                          1•                                                  Given to Unit
   7. Informal Resolution wWwas not accomplished.                                             Team  06-21-2021
                                                                         o6/l'^/so9^{
                                                                             Date

        Educatloh-^' ^                                                     06-21-2021
   staff Member's Name and Title                                                Date
       /!.                                                                 06-21-2021
                                                                                Date
   Unit Manager's Signature


   Distribution: If the complaint is informally resolved before    j"9
   correctional Counselors shall maintain the informal resolution fo^ for future
   reference. If the complaint is not informally rosolved, attach the origxnal xnfor^
   resolution form to the BB-9, and rotum thoa both to unit staff, who wxll foryard to
   tho AdiP'^"'^     Ramedy Clerk.
                  Case 1:19-cr-00108-MKB Document 46 Filed
    U.S. DEPARTMENT OF JUSTICE
                                                           08/19/21 Page 21 of 25 PageID #: 144
                                                      REQUEST FOR ADMINISTRATIVE REMEDY
    Federal Bureau of PHsons         '



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    From                 orn 4^Jr-fi
                      LAST NAMEf, FIRST, MIDDLE INITIAL                                        REG. NO.                            UNIT
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     Part A- INMATE REQUEST

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                      DATE
     Part B- RESPONSE




                                                                                                     D!




                     DATE                                                                                                WARDEN OR REGIONAL DIRECTOR

    If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date of this response.

    ORIGINAL: RETURN TO INMATE                                                                                              CASE NUMBER:\C5jS^^^w£S                                   —
                                                                                                                            CASE NUMBER:

     Part C- RECEIPT
    Return to:
                           LAST NAME, FIRST, MIDDLE INITIAL                                          REG. NO.                           UNIT                      INSTITUTION

    SUBJECT:



                     DATE                                                                          RECIPIENT'S SIGNATURE (STAFF MEMBER)                                         BP-22g(13)
     USPLVN                                        >S?FMscafcciciBNffi>                                                                                                        APRIL 1982
Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 22 of 25 PageID #: 145


Remedy Number 1087165-F1
Wilburn, Andre
Reg. No. 73608-298

This is in response to your Request for Administrative Remedy
dated June 23, 2021, wherein you describe being denied access to
copies in the law library. You are requesting "not to have my
civil, human, and constitutional rights violated."

A review into this matter reveals MDC Brooklyn is currently on a
modified schedule. Due to COVID-19 procedures, 6 inmates from
each unit can make law library movement on any given day. Until
pandemic restrictions are lifted, we must enforce strict social
distancing policy. However, after your submission, you were taken
to the law library and were able to make copies.

Based upon the above information, your request for Administrative
Remedy is for informational purposes only.

If dissatisfied with this response, you may appeal to the
Regional Director, Federal Bureau of Prisons, Northeast Regional
Office, U.S. Customs House, 2^^ and Chestnut Street, Philadelphia,
PA. 19106. Your appeal must be received in the Regional Office
within 20 calendar days from the date of this response.




                                                      0^
Heriberto H.                                              Date
                  Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 23 of 25 PageID #: 146
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        LAW LIBRARY SIGN UP SHEET
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    'Please beidvised,every Friday starting April 3"" there will be a law library sign-up sheet avaUable during the
    i;inodij^d^erati6n. Only sign up if you have discovery in a locker down in education or a copy card to make
    j l^al copies; The dates and times will be on top ofthe sign-up sheet provided on the unit near the Trulihks
      cioihphters M         is based oh staffing and security.
        The librhry^w^^^ sanitized between all movements in the law library.

    I^SKS
                 4inmates TOTAL!
        YOU WILL CLEAN YOUR WORK AREA AFTER EACH USE!
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                                             DISCOVERY COMPUTERS
                               -Up to 4 discovery cases.For discovery stored in education lockets ONLY!

                                        NAME                            registration NUMBER
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                       4.                                                                                                      .




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    ! DISCOVERY & COPIES ONLY
              Case 1:19-cr-00108-MKB Document 46 Filed 08/19/21 Page 24 of 25 PageID #: 147

                                                             NEW YORK

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                                        The letter has neither been opened nor inspected.
                                         If the writer raises a q'lestion or a problem over
                                         wh;c: 'his facility has jurisdiction, you may wish
                                           to return the material for further information
                                       or clarification If the writer encloses correspondence
                                            for forwarding to another addressee, please
                                            return iiic onoloviure to the above address.




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